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         AO
          AO450
             450(GAS
                 (GASRev
                     Rev.09/20)
                          6/03) Judgment in a Civil Case



                                      United States District Court
                                                Southern District of Georgia
                  JOHN PHILIP ROSS,

                                            Plaintiff,
                                                                                   JUDGMENT IN A CIVIL CASE

                                                                                                     4:20-cv-12
                                           V.                                    CASE NUMBER:
                  KILOLO KIJAKAZI,

                                            Defendant.




                    Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the jury
                    has rendered its verdict.

                    Decision by Court.This action came before the Court. The issues have been considered and a decision has been
            ✔
                    rendered.

                    IT IS ORDERED AND ADJUDGED
                    that, pursuant to the Order of the Court dated September 14, 2021, the Magistrate Judge's Report

                    and Recommendation is adopted as the Court's opinion. The Commissioner's final decision is

                    affirmed. Judgment is entered in favor of the Defendant, and this case stands closed.




           Approved by: ________________________________
                         __________________________




           September 24, 2021                                                  John E. Triplett, Clerk of Court
           Date                                                                Clerk



                                                                               (By)
                                                                               (B y) Deputy
                                                                                By)  Deputty Clerk
                                                                                             Cler
                                                                                               erk
                                                                                               er
GAS Rev 10/2020
